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   CALIFORNIA STATE BAR NUMBER 123357
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   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     TIEN THE LE
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 8
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                        EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,      )              CR.-S-NO.-08-449–WBS
                                    )
13        PLAINTIFF,                )
                                    )              STIPULATION AND (PROPOSED)
14        v.                        )              ORDER TO CONTINUE THE
                                    )              JUDGMENT AND SENTENCING
15   TIEN THE LE, et al.,           )              TO TUESDAY, OCTOBER 15, 2013
                                    )
16                                  )
          DEFENDANTS.               )
17   ______________________________)
18
           Plaintiff, the United States of America, by Assistant United States Attorneys,
19
     Mr. Jason Hitt, and Ms. Jill Thomas and defendant Tien The Le by his attorney James
20
     R. Greiner, all stipulate and agree that the Motion for New Trail (Docket # 216) and
21
     Motion to Vacate the Jury Verdict and Judgment of Acquittal (Docket # 215) and
22
     Judgment and Sentencing date calendared for Monday, August 26, 2013, at 9:30
23
     a.m. before the Honorable Senior United States District Court Judge, William B.
24
     Shubb, can be vacated.
25
           The parties, Plaintiff, the United States of America, by Assistant United States
26
     Attorneys, Mr. Jason Hitt, and Ms. Jill Thomas and defendant Tien The Le by his
27
     attorney James R. Greiner, all stipulate and agree that the Motion for New Trail
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 1   (Docket # 216) and Motion to Vacate the Jury Verdict and Judgment of Acquittal
 2   (Docket # 215) and Judgment and Sentencing may be continued to Tuesday, October
 3   15, 2013.
 4         The Court’s availability on this date, Tuesday, October 15, 2013, has been
 5   confirmed.
 6                                    BACKGROUND
 7         On March 26, 2013, the jury returned a verdict of Guilty on Court one and a
 8   Not Guilty verdict on Court two.
 9         The defense has filed both a Motion for New Trail (Docket # 216) and Motion
10   to Vacate the Jury Verdict and Judgment of Acquittal (Docket # 215), and a
11   Sentencing Memorandum (Docket # 246) which the governments needs time to
12   respond to and the defense needs time to reply to and which the parties agree to this
13   extension of time for the briefing as well as for briefing on the Judgment and
14   Sentencing. The parties are exercising good faith and reasonableness and the
15   extension of time under the circumstances of this case the parties agree is reasonable.
16
17                                 AMENDED SCHEDULE
18         The parties agree to the following amended schedule for briefing in this case:
19
20         Judgment and Sentence and Hearing on Defense Motions October 15, 2013
21
22
23                                   Respectfully submitted,
                                     BENJAMIN B. WAGNER
24                                   UNITED STATES ATTORNEY
25   DATED: 8-22-13                  /s/ JASON HITT
                                    _____________________________________
26                                   JASON HITT,
                                     JILL THOMAS
27                                   ASSISTANT UNITED STATES ATTORNEYS
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 1   DATED: 8-22-13                  /s/ JAMES R. GREINER
                                     _______________________________________
 2                                   James R. Greiner
                                     Attorney for Defendant
 3                                   TIEN THE LE
 4
 5
 6                                      (Proposed) ORDER
 7
     THE COURT MAKES THE FOLLOWING FINDINGS:
 8
           The Court finds request of the parties to be reasonable under the totality of the
 9
     circumstances of this case and therefore adopts the request of the parties as follows:
10
11
           Judgment and Sentence and Hearing on Defense Motions October 15, 2013
12
13
           Further, the Court Orders that the Judgment and Sentence date of
14
     Monday, August 26, 2013, be vacated.
15
16
           IT IS SO ORDERED.
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20   DATED: August 22, 2013
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